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Attorney or Party Name, Address, Telephone & FAX Nos.,State              FOR COURT USE ONLY
Bar No. & Email Address

Edwin J. Rambuski
1401 Higuera Street
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109602 CA
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    Individual appearing without attorney
    Attorney for Debtor
                                                 UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
In re:
                      Dustin Baptiste Heon                               CASE NO.: 9:20-bk-10624-DS
                      Autumn Kim Numbers
                                                                         CHAPTER: 7


                                                                                     SUMMARY OF AMENDED SCHEDULES,
                                                                                          MASTER MAILING LIST,
                                                                                          AND/OR STATEMENTS
                                                                                             [LBR 1007-1(c)]

                                                             Debtor(s)

A filing fee is required to amend Schedules D, or E/F (see Abbreviated Fee Schedule on the Court’s website
www.cacb.uscourts.gov). A supplemental master mailing list (do not repeat any creditors on the original) is also required as an
attachment if creditors are being added to the Schedule D or E/F. Are one or more creditors being added?       Yes      No

The following schedules, master mailing list or statements (check all that apply) are being amended:
    Schedule A/B            Schedule C                 Schedule D           Schedule E/F                   Schedule G

    Schedule H                 Schedule I                Schedule J          Schedule J-2                  Statement of Financial Affairs

    Statement About Your Social Security Number(s)                            Statement of                 Master Mailing List
                                                                          Intentions

    Other (specify)

I/we declare under penalty of perjury under the laws of the United States that the amended schedules, master mailing list, and or
statements are true and correct.

Date:         September 15, 2020
                                                            Dustin Baptiste Heon
                                                            Debtor 1 Signature



                                                            Autumn Kim Numbers
                                                            Debtor 2 (Joint Debtor) Signature (if applicable)

NOTE: It is the responsibility of the Debtor, or the Debtor’s attorney, to serve copies of all amendments on all creditors listed in this
Summary of Amended Schedules, Master Mailing List, and/or Statements, and to complete and file the attached Proof of Service of
Document.




     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2015                                                  Page 1                                     F 1007-1.1.AMENDED.SUMMARY
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 Fill in this information to identify your case:

 Debtor 1                     Dustin Baptiste Heon
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Autumn Kim Numbers
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                CENTRAL DISTRICT OF CALIFORNIA

 Case number           9:20-bk-10624-DS
 (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          Internal Revenue Service                               Last 4 digits of account number       1000             $34,943.18             $34,943.18                    $0.00
              Priority Creditor's Name
              P.O. Box 7346                                          When was the debt incurred?           2014-2017
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Form 1040


 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




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 4.1      A-Pre                                                      Last 4 digits of account number                                                        $10,620.00
          Nonpriority Creditor's Name
          1509 Bridgetown Pike                                       When was the debt incurred?
          Langhorne, PA 19053
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.2      Affirm/Cross River Bank                                    Last 4 digits of account number       34WH                                              $2,078.00
          Nonpriority Creditor's Name
          885 Teaneck Rd                                             When was the debt incurred?           2019
          Teaneck, NJ 07666
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan


 4.3      AirSlamit                                                  Last 4 digits of account number       none                                            $120,817.60
          Nonpriority Creditor's Name
          816 E. Main St.                                            When was the debt incurred?           2019
          Mesa, AZ 85203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.4      American Express                                           Last 4 digits of account number       9992                                            $49,019.00
          Nonpriority Creditor's Name
          P.O. Box 981537                                            When was the debt incurred?           2017
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.5      Arnott, LLC                                                Last 4 digits of account number       None                                                   $1.00
          Nonpriority Creditor's Name
          100 Sea Ray Drive                                          When was the debt incurred?           2020
          Merritt Island, FL 32953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   UTSA claims


 4.6      AVS                                                        Last 4 digits of account number       none                                            $54,087.70
          Nonpriority Creditor's Name
          4555 N Cedar Ave                                           When was the debt incurred?           2019
          Fresno, CA 93726
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.7      AVS                                                        Last 4 digits of account number       none                                                $156.87
          Nonpriority Creditor's Name
          4555 N Cedar Ave                                           When was the debt incurred?           2019
          Fresno, CA 93726
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.8      Capital One Bank USA NA                                    Last 4 digits of account number       8793                                             $2,869.14
          Nonpriority Creditor's Name
          P.O. Box 30285                                             When was the debt incurred?           2013
          Salt Lake City, UT 84130-0285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.9      Capital One Bank USA NA                                    Last 4 digits of account number       8793                                             $4,873.65
          Nonpriority Creditor's Name
          P.O. Box 30285                                             When was the debt incurred?           2013
          Salt Lake City, UT 84130-0285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 4.1
 0        Capital One Spark Card                                     Last 4 digits of account number       none                                                   $1.00
          Nonpriority Creditor's Name
          PO Box 71083                                               When was the debt incurred?           2019
          Charlotte, NC 28272
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.1
 1        Carmel & Naccasha, LLP                                     Last 4 digits of account number       none                                             $16,033.00
          Nonpriority Creditor's Name
          1410 Marsh St.                                             When was the debt incurred?           2019
          San Luis Obispo, CA 93401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.1
 2        CDS Business Services, INC                                 Last 4 digits of account number       3727                                            $740,000.00
          Nonpriority Creditor's Name
          1981 Marcus Ave, Suite 130                                 When was the debt incurred?           2016
          Lake Success, NY 11042
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.1
 3        Cedar Advance                                              Last 4 digits of account number       unknown                                         $75,235.95
          Nonpriority Creditor's Name
          2917 Avenue I                                              When was the debt incurred?           2019
          Brooklyn, NY 11210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.1
 4        CEP America California                                     Last 4 digits of account number       2480                                                $571.00
          Nonpriority Creditor's Name
          P.O. Box 582663                                            When was the debt incurred?           2018
          Modesto, CA 95358
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical bill


 4.1
 5        Chase                                                      Last 4 digits of account number       3364                                            $22,275.73
          Nonpriority Creditor's Name
          P.O. Box 15298                                             When was the debt incurred?           2016
          Wilmington, DE 19850-5298
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 4.1
 6        Chase Bank                                                 Last 4 digits of account number       8221                                             $5,208.76
          Nonpriority Creditor's Name
          P.O. Box 15145                                             When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.1
 7        Chase Credit Card                                          Last 4 digits of account number       none                                            $13,752.08
          Nonpriority Creditor's Name
          P.O. Box 15298                                             When was the debt incurred?           2019
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.1
 8        Chase Ink Credit Card                                      Last 4 digits of account number       0797                                            $14,621.64
          Nonpriority Creditor's Name
          P.O. Box 15298                                             When was the debt incurred?           2018
          Wilmington, DE 19850-5298
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.1
 9        CHTD Company                                               Last 4 digits of account number       5120                                             Unknown
          Nonpriority Creditor's Name
          PO Box 2576                                                When was the debt incurred?           2017
          Springfield, IL 62708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.2
 0        Citi Costco Credit Card                                    Last 4 digits of account number       1291                                             $5,883.45
          Nonpriority Creditor's Name
          Citi Cards                                                 When was the debt incurred?           2015
          P.O. Box 78019
          Phoenix, AZ 85062-8019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.2
 1        Citi Mastercard                                            Last 4 digits of account number       3658                                             $1,726.47
          Nonpriority Creditor's Name
          P.O. Box 6500                                              When was the debt incurred?           2020
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 4.2
 2        Citibank Credit Card                                       Last 4 digits of account number       none                                              $5,524.58
          Nonpriority Creditor's Name
          P.O. Box 9001037                                           When was the debt incurred?           2019
          Louisville, KY 40290
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.2
 3        Citicards CBNA                                             Last 4 digits of account number       3155                                              $2,988.43
          Nonpriority Creditor's Name
          P.O. Box 790046                                            When was the debt incurred?           2017
          Saint Louis, MO 63179-0046
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.2
 4        Clearbanc Loan                                             Last 4 digits of account number       7332                                            $341,422.24
          Nonpriority Creditor's Name
          200 University Ave                                         When was the debt incurred?           2020
          Toronto, Ontario M5V3C6
          CANADA
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.2
 5        CoastHills Credit Union                                    Last 4 digits of account number       0283                                            $10,930.00
          Nonpriority Creditor's Name
          Customer Service                                           When was the debt incurred?           2016
          P.O. Box 30495
          Tampa, FL 33630-3495
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.2
 6        Comenity Bank/RH                                           Last 4 digits of account number       3077                                                $700.64
          Nonpriority Creditor's Name
          Bankruptcy Department                                      When was the debt incurred?           2017
          P.O. Box 182125
          Columbus, OH 43218-2125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.2
 7        Comenity Bank/Wayfair                                      Last 4 digits of account number       3301                                             $2,898.41
          Nonpriority Creditor's Name
          P.O. Box 182789                                            When was the debt incurred?           2018
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 4.2
 8        Comenity Bank/Williams Sonoma                              Last 4 digits of account number       6703                                                $617.49
          Nonpriority Creditor's Name
          Bankruptcy Department                                      When was the debt incurred?           2016
          P.O. Box 182125
          Columbus, OH 43218-2125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.2
 9        Comenity Capital Bank/Ulta                                 Last 4 digits of account number       4608                                                $212.47
          Nonpriority Creditor's Name
          Bankruptcy Department                                      When was the debt incurred?           2016
          P.O. Box 183043
          Columbus, OH 43218-3043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.3
 0        Corporation Service Company,                               Last 4 digits of account number       3046                                             Unknown
          Nonpriority Creditor's Name
          As Representative                                          When was the debt incurred?           2019
          PO Box 2576
          Springfield, IL 62708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.3
 1        CT Corporation System,                                     Last 4 digits of account number       4169                                                   $0.00
          Nonpriority Creditor's Name
          as representative, Attn: SPRS                              When was the debt incurred?           2020
          330 N. Brand Blvd, Suite 700
          Glendale, CA 91203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.3
 2        Cutting Edge Precision                                     Last 4 digits of account number       none                                            $10,267.00
          Nonpriority Creditor's Name
          846 Freedom St.                                            When was the debt incurred?           2019
          Visalia, CA 93291
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.3      Employment Development
 3        Department                                                 Last 4 digits of account number       3747                                             $5,000.00
          Nonpriority Creditor's Name
          Bankruptcy Special Procedures                              When was the debt incurred?           2020
          Group
          PO Box 826880 MIC Group 92E
          Sacramento, CA 94280-0001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.3
 4        Essential Cleaning                                         Last 4 digits of account number       none                                             $3,152.00
          Nonpriority Creditor's Name
          2146 Parker Street                                         When was the debt incurred?           2019
          San Luis Obispo, CA 93401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.3
 5        Fast Trak Fabrication                                      Last 4 digits of account number                                                        $1,328.15
          Nonpriority Creditor's Name
          3011 W Dakota Ave                                          When was the debt incurred?
          Fresno, CA 93722
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.3
 6        FedEx                                                      Last 4 digits of account number       7069                                             $7,167.42
          Nonpriority Creditor's Name
          942 South Shady Grove Road                                 When was the debt incurred?
          Memphis, TN 38120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.3
 7        Fora Financial Advance, LLC                                Last 4 digits of account number       Unknown                                          $31,158.56
          Nonpriority Creditor's Name
          519 Eighth Avenue                                          When was the debt incurred?           2019
          New York, NY 10018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.3
 8        Fox Capital Group                                          Last 4 digits of account number       unknown                                         $112,557.31
          Nonpriority Creditor's Name
          140 Broadway, 46th Floor                                   When was the debt incurred?           2020
          New York, NY 10005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.3
 9        Franchise Tax Board                                        Last 4 digits of account number       3747                                              $3,000.00
          Nonpriority Creditor's Name
          Business Entity Bankruptcy MS                              When was the debt incurred?           2020
          A345
          PO Box 2952
          Sacramento, CA 95812-2952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.4
 0        Hanaco                                                     Last 4 digits of account number                                                           $975.45
          Nonpriority Creditor's Name
          3965 Schaefer Ave                                          When was the debt incurred?
          Chino, CA 91710
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.4
 1        Home Depot Credit Card                                     Last 4 digits of account number       6913                                                $499.00
          Nonpriority Creditor's Name
          P.O. Box 7032                                              When was the debt incurred?           2020
          Sioux Falls, SD 57117-7032
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.4
 2        Internal Revenue Service                                   Last 4 digits of account number       3747                                            $57,752.95
          Nonpriority Creditor's Name
          Centralized Insolvency Operation                           When was the debt incurred?           2020
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.4
 3        IRS/OHIO                                                   Last 4 digits of account number       3747                                            $189,397.82
          Nonpriority Creditor's Name
          PO Box 145595                                              When was the debt incurred?           2017
          Cincinnati, OH 45250-5595
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.4
 4        JP Morgan Chase                                            Last 4 digits of account number       8204                                                $665.01
          Nonpriority Creditor's Name
          P.O. Box 182051                                            When was the debt incurred?           2020
          Columbus, OH 43218-2051
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Bank overdraft


 4.4
 5        Lending Club Corporation                                   Last 4 digits of account number       1083                                             $25,217.00
          Nonpriority Creditor's Name
          595 Market St, Suite 200                                   When was the debt incurred?           2020
          San Francisco, CA 94105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan




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 4.4
 6        Lending Club Corporation                                   Last 4 digits of account number       2042                                             $4,581.43
          Nonpriority Creditor's Name
          595 Market St, Suite 200                                   When was the debt incurred?           2018
          San Francisco, CA 94105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan


 4.4
 7        Little Shop Manufacturing                                  Last 4 digits of account number       none                                             $6,935.00
          Nonpriority Creditor's Name
          150 Mahr Ave                                               When was the debt incurred?           2019
          Lawrenceburg, TN 38464
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.4
 8        Lowrider Depot                                             Last 4 digits of account number       none                                            $33,523.25
          Nonpriority Creditor's Name
          10 Annette Road                                            When was the debt incurred?           2019
          Foxboro, MA 02035
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.4
 9        MX Electronics Manufacturing                               Last 4 digits of account number       none                                            $80,231.00
          Nonpriority Creditor's Name
          1651 E. St Andrew Place                                    When was the debt incurred?           2019
          Santa Ana, CA 92705-4932
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.5      Newtek Small Business Finance,
 0        LLC                                                        Last 4 digits of account number       2E11                                         $1,021,367.36
          Nonpriority Creditor's Name
          60 Hempstead Ave                                           When was the debt incurred?           2016
          West Hempstead, NY 11552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.5
 1        Nordstrom TD Bank                                          Last 4 digits of account number       0518                                             $2,615.30
          Nonpriority Creditor's Name
          P.O. Box 6555                                              When was the debt incurred?           2017
          Englewood, CO 80155
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 4.5
 2        Oneway Industrial                                          Last 4 digits of account number       ACCAIR                                           $1,220.81
          Nonpriority Creditor's Name
          302 Pine Ave                                               When was the debt incurred?
          Goleta, CA 93117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.5
 3        Paypal                                                     Last 4 digits of account number                                                       $40,801.17
          Nonpriority Creditor's Name
          2211 North First Street                                    When was the debt incurred?
          San Jose, CA 95131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.5
 4        Paypal                                                     Last 4 digits of account number                                                       $10,000.00
          Nonpriority Creditor's Name
          2211 North First Street                                    When was the debt incurred?
          San Jose, CA 95131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.5
 5        Paypal Working Capital                                     Last 4 digits of account number                                                       $19,539.80
          Nonpriority Creditor's Name
          2211 North First Street                                    When was the debt incurred?
          San Jose, CA 95131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.5
 6        Paypal Working Capital                                     Last 4 digits of account number                                                       $42,460.79
          Nonpriority Creditor's Name
          2211 North First Street                                    When was the debt incurred?
          San Jose, CA 95131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.5
 7        Plush Automotive                                           Last 4 digits of account number       none                                            $20,000.00
          Nonpriority Creditor's Name
          126 Station Rd.                                            When was the debt incurred?           2019
          Broughton Astley, Leicester LE9
          6PW
          UNITED KINGDOM
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.5
 8        SLO Buckley Properties                                     Last 4 digits of account number       none                                            $104,195.23
          Nonpriority Creditor's Name
          2 Alta Mira                                                When was the debt incurred?           2020
          San Luis Obispo, CA 93401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.5
 9        Solenoid Solutions, Inc.                                   Last 4 digits of account number       none                                             $38,505.00
          Nonpriority Creditor's Name
          2251 Manchester Road                                       When was the debt incurred?           2019
          Erie, PA 16506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.6
 0        Spark Capital One                                          Last 4 digits of account number       3055                                             $12,045.41
          Nonpriority Creditor's Name
          Capital One                                                When was the debt incurred?           2018
          P.O. Box 30285
          Salt Lake City, UT 84130-0287
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.6
 1        Streetec                                                   Last 4 digits of account number       none                                            $32,112.00
          Nonpriority Creditor's Name
          Industriestra e 12                                         When was the debt incurred?           2019
          Hochst, Odenwald 64739
          GERMANY
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.6
 2        SYNCB/American Eagle PLC                                   Last 4 digits of account number       3654                                                $270.14
          Nonpriority Creditor's Name
          P.O. Box 965005                                            When was the debt incurred?           2017
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.6
 3        SYNCB/Paypal Credit Card                                   Last 4 digits of account number       2352                                             $3,978.04
          Nonpriority Creditor's Name
          P.O. Box 965005                                            When was the debt incurred?           2017
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 4.6
 4        SYNCB/QVC                                                  Last 4 digits of account number       2175                                                $613.20
          Nonpriority Creditor's Name
          P.O. Box 965005                                            When was the debt incurred?           2018
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.6
 5        SYNCB/TJX                                                  Last 4 digits of account number       6880                                                $179.70
          Nonpriority Creditor's Name
          P.O. Box 965015                                            When was the debt incurred?           2019
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.6
 6        TD Bank USA/Target Card Services                           Last 4 digits of account number       4072                                             $2,551.16
          Nonpriority Creditor's Name
          P.O. Box 9500                                              When was the debt incurred?           2017
          Minneapolis, MN 55440
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 4.6
 7        The Tompkins Trust Dated                                   Last 4 digits of account number       5E11                                            $750,000.00
          Nonpriority Creditor's Name
          November 14, 2007                                          When was the debt incurred?           2018
          684 Higuera St Ste B
          San Luis Obispo, CA 93401-3550
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.6
 8        TTI, Inc.                                                  Last 4 digits of account number       none                                             $45,315.00
          Nonpriority Creditor's Name
          2441 Northeast Parkway                                     When was the debt incurred?           2019
          Fort Worth, TX 76106-1816
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.6
 9        Wells Fargo Credit Card                                    Last 4 digits of account number       none                                             $18,176.79
          Nonpriority Creditor's Name
          P.O. Box 51193                                             When was the debt incurred?           2019
          Los Angeles, CA 90051
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution




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 4.7
 0         Wells Fargo Credit Card                                   Last 4 digits of account number       3233                                             $9,331.59
           Nonpriority Creditor's Name
           Wells Fargo SBL                                           When was the debt incurred?           2008
           P.O. Box 29482
           Phoenix, AZ 85038-8650
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.7
 1         Wells Fargo Credit Card                                   Last 4 digits of account number       3241                                             $8,845.20
           Nonpriority Creditor's Name
           Wells Fargo SBL                                           When was the debt incurred?           2008
           P.O. Box 29482
           Phoenix, AZ 85038-8650
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution


 4.7
 2         West Coast Business Capital                               Last 4 digits of account number       unknown                                         $72,235.95
           Nonpriority Creditor's Name
           116 Nassau St, Ste 804                                    When was the debt incurred?           2019
           New York, NY 10038
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt listed out of caution

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 25 of 26
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   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mark J. Nahnsen, Esq.                                         Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Barnes & Thornburg LLP                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 One North Wacker Dr., Suite 4400
 Chicago, IL 60606
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wakefield and Associates                                      Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 10800 East Bethany Drive                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Aurora, CO 80014
                                                               Last 4 digits of account number                    8403

 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                    34,943.18
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    34,943.18

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                4,334,894.29

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                4,334,894.29




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 26 of 26
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 Fill in this information to identify your case:

 Debtor 1                   Dustin Baptiste Heon
                            First Name                           Middle Name       Last Name

 Debtor 2                   Autumn Kim Numbers
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 CENTRAL DISTRICT OF CALIFORNIA

 Case number           9:20-bk-10624-DS
 (if known)
                                                                                                                              Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         AccuAir Control Systems, LLC                                                          Schedule D, line
                1241 Johnson, Suite 355                                                               Schedule E/F, line    4.3
                San Luis Obispo, CA 93401
                                                                                                      Schedule G
                                                                                                   AirSlamit



    3.2         AccuAir Control Systems, LLC                                                         Schedule D, line
                1241 Johnson, Suite 355                                                              Schedule E/F, line     4.4
                San Luis Obispo, CA 93401
                                                                                                     Schedule G
                                                                                                   American Express



    3.3         AccuAir Control Systems, LLC                                                         Schedule D, line
                1241 Johnson, Suite 355                                                              Schedule E/F, line     4.6
                San Luis Obispo, CA 93401
                                                                                                     Schedule G
                                                                                                   AVS




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.4      AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.7
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             AVS



    3.5      AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line  4.10
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Capital One Spark Card



    3.6      AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line 4.11
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Carmel & Naccasha, LLP



    3.7      AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line 4.12
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             CDS Business Services, INC



    3.8      AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.13
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Cedar Advance



    3.9      AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.17
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Chase Credit Card



    3.10     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line  4.18
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Chase Ink Credit Card



    3.11     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.19
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             CHTD Company




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.12     AccuAir Control Systems, LLC                                                       Schedule D, line
             1241 Johnson, Suite 355                                                            Schedule E/F, line   4.20
             San Luis Obispo, CA 93401
                                                                                                Schedule G
                                                                                             Citi Costco Credit Card



    3.13     AccuAir Control Systems, LLC                                                       Schedule D, line
             1241 Johnson, Suite 355                                                            Schedule E/F, line     4.22
             San Luis Obispo, CA 93401
                                                                                                Schedule G
                                                                                             Citibank Credit Card



    3.14     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.24
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Clearbanc Loan



    3.15     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line  4.30
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Corporation Service Company,



    3.16     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line 4.31
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             CT Corporation System,



    3.17     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line   4.32
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Cutting Edge Precision



    3.18     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line 4.33
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Employment Development Department



    3.19     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.34
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Essential Cleaning




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 Debtor 1 Autumn Kim Numbers                                                            Case number (if known)   9:20-bk-10624-DS


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.20     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line  4.37
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Fora Financial Advance, LLC



    3.21     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.38
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Fox Capital Group



    3.22     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.39
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Franchise Tax Board



    3.23     AccuAir Control Systems, LLC                                                       Schedule D, line
             1241 Johnson, Suite 355                                                            Schedule E/F, line  4.42
             San Luis Obispo, CA 93401
                                                                                                Schedule G
                                                                                             Internal Revenue Service



    3.24     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.43
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             IRS/OHIO



    3.25     AccuAir Control Systems, LLC                                                       Schedule D, line
             1241 Johnson, Suite 355                                                            Schedule E/F, line  4.47
             San Luis Obispo, CA 93401
                                                                                                Schedule G
                                                                                             Little Shop Manufacturing



    3.26     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.48
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Lowrider Depot



    3.27     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line 4.49
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             MX Electronics Manufacturing




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.28     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line 4.50
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Newtek Small Business Finance, LLC



    3.29     AccuAir Control Systems, LLC                                                       Schedule D, line
             1241 Johnson, Suite 355                                                            Schedule E/F, line     4.57
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Plush Automotive



    3.30     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line 4.58
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             SLO Buckley Properties



    3.31     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line   4.59
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Solenoid Solutions, Inc.



    3.32     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.60
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Spark Capital One



    3.33     AccuAir Control Systems, LLC                                                       Schedule D, line
             1241 Johnson, Suite 355                                                            Schedule E/F, line     4.61
             San Luis Obispo, CA 93401
                                                                                                Schedule G
                                                                                             Streetec



    3.34     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line 4.67
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             The Tompkins Trust Dated



    3.35     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.68
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             TTI, Inc.




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 Debtor 1 Autumn Kim Numbers                                                            Case number (if known)   9:20-bk-10624-DS


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.36     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line  4.69
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Wells Fargo Credit Card



    3.37     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line  4.70
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Wells Fargo Credit Card



    3.38     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line  4.71
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Wells Fargo Credit Card



    3.39     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line 4.72
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             West Coast Business Capital



    3.40     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line  4.35
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Fast Trak Fabrication



    3.41     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.1
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             A-Pre



    3.42     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.40
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Hanaco



    3.43     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.36
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             FedEx




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 Debtor 1 Autumn Kim Numbers                                                            Case number (if known)   9:20-bk-10624-DS


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.44     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.16
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Chase Bank



    3.45     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.53
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Paypal



    3.46     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.54
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Paypal



    3.47     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line  4.55
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Paypal Working Capital



    3.48     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line  4.56
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Paypal Working Capital



    3.49     AccuAir Control Systems, LLC                                                      Schedule D, line
             1241 Johnson, Suite 355                                                           Schedule E/F, line      4.52
             San Luis Obispo, CA 93401
                                                                                               Schedule G
                                                                                             Oneway Industrial




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                        A-Pre
                        1509 Bridgetown Pike
                        Langhorne, PA 19053


                        AccuAir Control Systems, LLC
                        1241 Johnson, Suite 355
                        San Luis Obispo, CA 93401


                        Arnott, LLC
                        100 Sea Ray Drive
                        Merritt Island, FL 32953


                        Chase Bank
                        P.O. Box 15145
                        Wilmington, DE 19850


                        Fast Trak Fabrication
                        3011 W Dakota Ave
                        Fresno, CA 93722


                        FedEx
                        942 South Shady Grove Road
                        Memphis, TN 38120


                        Hanaco
                        3965 Schaefer Ave
                        Chino, CA 91710


                        Mark J. Nahnsen, Esq.
                        Barnes & Thornburg LLP
                        One North Wacker Dr., Suite 4400
                        Chicago, IL 60606
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                    Oneway Industrial
                    302 Pine Ave
                    Goleta, CA 93117


                    Paypal
                    2211 North First Street
                    San Jose, CA 95131


                    Paypal Working Capital
                    2211 North First Street
                    San Jose, CA 95131
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